__.._. Case 1:11-cv-00059-OWW-GSA Document 2 F

 

 

 

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Kincaid Pi/olasWrluitAM D. MELLO®

L.«HARTON ,

PLAINTIFF/PETITIONRIUMIOVANT'S NAME ¢ Kin cancd e4 (bla; ATLLTA

PRISON NUMBER s(CE- 468 Zo )

PLACE OF CONFINEMENT  AEASANT VALLE STATE Aerson

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United States fistrict Court
EASTERN DisTRICT FOR CALIFORIWIA .

111 00V

Civi] No.

NOMS egy sel He

 

Plaintiff/Petitionsr/Movant

(To BE FILLED IN AY U.S. Destruct Court CLerk}

v. MOTION AND DECLARATION UNDER
PINALTY OF PERJURY IN SUPPORT
OF MOTION TO PROCEED IN FORMA

1, Kineaid@d/o/a:WNELULAM DouGLAs MELLO®

declare that ] am the Plaimtiff/Petitioner/Movant in this case. In support
prepayment of fees or security under 28 U.S.C.-§ 1915, 7 further declare
proceeding or give security because of my poverty, and thal I believe J a

], Are you currently incarcerated? DXi Yes .4No
If""Yes," state the place of your incarceration PLEASANT

Are you employed al the institution? Lal Yes 241 No

Do you receive any payment from the institution? __j Yes xl No
{Have the institution fill ow the Certificate portion of this affidavi! a
stalernen| from the institution of your incarceration showing at leas!

CIV-67 (Rev. 9/97

Defendant/Respondent PAUPERIS

of my request le proceed withoul
Jam unable to pay the fees of this
tm entitled to redress.

“In further support of this application, 1 answer the following question under penalty of perjury:
(if"No" go to question 2) 7

VALLEY STATE PRISON.

nd attach a certified copy of the trust accounl
the last six months transactions. ]

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2, Are you currently employed? Yes Cio>
a. ifthe answer is "Yes," state the amount of your take-home salary or wages and pay period and give the name
and adclress of your employer.

N/a

 

». If the answer is "No" state the date of your Jast employment, the amount of your take-home salary or wages and

pay period and the name and addvess of your last employer.

% yYenes sepeoxXimatelyY (lm oNSWe) BuT 15 BEEN A

LOWG TYME .

_ Inthe past twelve months have you reecived any money from any of the foliowing sources?:
Business, profession or other self-employment |} Yes PXINo

a.

b. Rent payments, royaities interest or dividends Lat Yes IXfINo
c. Pensions, annuities or life insurance ~ Yes PSINo
d. Disability or workers compensation im tYes SINo
e. Socia! Security, disability or other welfare met ¥ OS eno
e, Gifts or inheritanees i” F¥es JOtNo
f. Spousal or ehild supporl Tes SINo
g. pstyes | | aol NO

Any other sourees

if the answer to any of the above is "Yes" describe each source and state the amount received and whal you

expec! you will continue to receive each month.
Boast

CALIFORNIA SECRETARY OF STATE OFFICE jp 24. £2
EXPECT ITO RECEIVE ANY more!

 

 

4. Do you have any checking account(s)? vl Yes Sd No
a. Name(s) and address(es) of bank(s): N/A
ALYA

 

b. Present balance .in account(s):

x No

‘awrd

5. Do you have any savings/IRA/money market/CDS' separate from checking accounts?

a, Name(s) and address(es) of bank(s): N j
b. Present balance in aceount(s): A

6. Do you own an automobile or other motor vehicle? L.! Yes QX!No

a. Make: Year: . ‘Model:

b. Is il financed?; f¥es ‘No N (fx

c. Ifso, what is the amount owecl?

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Case 1:11-cv-00059-OWW-GSA Document 2 Filed 01/12/11 Page 3 of 3

7. Do you own any real estate, stocks, bonds, securities, other financial instruments, or other valuable proper ly’? |

«Yes No
Jf "Yes" describe the properly and state its value<2} TRANSMITTING UTIL TM 3 YY SECURITY

 

AGREEMENT? U/ TNDEMNITY BONDS _

8. List the persons who are dependent on you Sor support, state your relationship to each person and indieate how

much you contribute to their support.

N/A

wen . Le

9. List any other debts (curren! obligations, indicating amounts owed and to whom they are payable):
|

N/A

10, List any other assets or items of value (specify rea] estate, pifts, trusts inheritances, goverment bonds, stocks,
savings certificates, notes, jewelry, artwork, or any other assets [include any items of value held in someone

else’s name]):

N/A

Tf you answered al! of the iterms in #3 "No," and have not indicated any other assets or sources of income
anywhere on this form, you must explain the sources of funds for your day-to-day expenses.

N/a

1).

J declare under penalty of perjury that the above information is true and correct and understand that a false
statement herein may resuliin the dismissal-of my claims.
UCCGiB0£. / witout Peejobice

 

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KincBid® sui jucis, de jute, secured Rac /

CREATOR , Sovereign, ATOR OV - TN fac
AUTHORIZED REPRESENTATIVE One [’
BEWACF OF THE DEBTOR WILLIAM
Douglas MELLO® pe caCTm , TRUST;

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“ALLRIGHTS RESERVED© 2908 /og |
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